         Case 1:99-cv-02496-PLF Document 6504 Filed 07/12/22 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
UNITED STATES OF AMERICA,              )
      Plaintiff,                       )     Civil Action No. 99-CV-2496 (PLF)
                                       )     Next scheduled court appearance:
      and                              )     July 20, 2022 at 2:00 pm
                                       )     (Motions Hearing)
TOBACCO-FREE KIDS                      )
ACTION FUND, et al.,                   )
      Plaintiff-Intervenors            )
                                       )
      v.                               )
                                       )
PHILIP MORRIS USA INC., et al.,        )
      Defendants,                      )
                                       )
              and                      )
                                       )
ITG BRANDS, LLC, et al.,               )
      Post-Judgment Parties Regarding  )
      Remedies.                        )
____________________________________)

                           NOTICE OF FILING OF FINAL NOTICE

        Pursuant to Order #125-Remand and the Court’s July 1, 2022 minute order, the

Manufacturers 1 are filing the Final Notice to Retailers. As required by the Court’s orders, the

Final Notice incorporates comments the Manufacturers received from the Plaintiffs and the Court.




1
  The parties are the United States and the Public Health Intervenors (collectively “Plaintiffs”); Philip
Morris USA Inc., Altria Group, Inc., and R.J. Reynolds Tobacco Company (individually, as successor in
interest to Brown & Williamson Tobacco Corporation, and as successor to Lorillard Tobacco Company)
(collectively “Defendants”); and ITG Brands, LLC, Commonwealth Brands, Inc., and Commonwealth-
Altadis, Inc. (collectively “Remedies Parties”). Defendants and Remedies Parties are collectively referred
to as “Manufacturers.”
The non-party national retailer groups are the National Association of Convenience Stores and the National
Association of Tobacco Outlets (collectively “Retailer Groups”).
        Case 1:99-cv-02496-PLF Document 6504 Filed 07/12/22 Page 2 of 3




Dated: July 12, 2022

                                          Respectfully submitted,


                                          /s/
                                          Miguel A. Estrada (D.C. Bar No. 456289)
                                          Amir C. Tayrani (D.C. Bar No. 490994)
                                          GIBSON, DUNN & CRUTCHER LLP
                                          1050 Connecticut Avenue, N.W.
                                          Washington, D.C. 20036-5306
                                          Telephone: (202) 955-8257
                                          Fax: (202) 530-9016
                                          mestrada@gibsondunn.com
                                          atayrani@gibsondunn.com

                                          George C. Lombardi
                                          WINSTON & STRAWN LLP
                                          35 W. Wacker Drive
                                          Chicago, IL 60601
                                          Telephone: (312) 558-5969
                                          Fax: (312) 558-5700
                                          glombard@winston.com


                                          Attorneys for Defendants Altria Group, Inc.
                                          and Philip Morris USA Inc.


                                          /s/
                                          John M. Gore (D.C. Bar No. 502057)
                                          Jon G. Heintz (pro hac vice)
                                          JONES DAY
                                          51 Louisiana Avenue, N.W.
                                          Washington, D.C. 20001-2113
                                          Telephone: (202) 879-3939
                                          Fax: (202) 626-1700
                                          jmgore@jonesday.com
                                          jheintz@jonesday.com

                                          Jeffrey A. Mandell (D.C. Bar No. 999791)
                                          STAFFORD ROSENBAUM LLP
                                          222 West Washington Avenue, Suite 900
                                          Madison, Wisconsin 53703
                                          Telephone: (608) 256-0226
                                          Fax: (608) 259-2600
                                          jmandell@staffordlaw.com

                                      2
Case 1:99-cv-02496-PLF Document 6504 Filed 07/12/22 Page 3 of 3




                                  Attorneys for Defendant R.J. Reynolds
                                  Tobacco Company (individually, as
                                  successor in interest to Brown & Williamson
                                  Tobacco Corporation, and as successor to
                                  Lorillard Tobacco Company)



                                  /s/
                                  Elizabeth B. McCallum (D.C. Bar
                                  No. 451361)
                                  Carey S. Busen (D.C. Bar No. 982217)
                                  BAKER & HOSTETLER LLP
                                  1050 Connecticut Avenue, N.W.
                                  Washington, D.C. 20036-5304
                                  Telephone: (202) 861-1500
                                  Fax: (202) 861-1783

                                  Attorneys for Post-Judgment Parties
                                  Regarding Remedies ITG Brands, LLC,
                                  Commonwealth Brands, Inc. and
                                  Commonwealth-Altadis, Inc.




                              3
